This is a proceeding in a peace warrant before a justice of the peace. The justice of the peace, finding sufficient cause, adjudged and required defendant to enter into bond to keep the peace, and from this judgment defendant appealed to the Superior Court. In the Superior Court defendant moved to quash the proceeding for want of sufficient averment in the affidavit upon which the warrant was issued; and the State moved to dismiss defendant's appeal, for the reason that no appeal lies in a proceeding of this kind. The court refused the motion of defendant, allowed the motion of the State, and dismissed the defendant's appeal. In this there was no error.
It has been more than once held in this Court that no appeal lies from a justice of the peace to the Superior Court from his judgment upon a peace warrant. S. v. Walker, 94 N.C. 875; S. v. Lyon, 93 N.C. 575.
Affirmed.
(1200)